Case 2:22-cv-00015-RGK-MAR Document 17 Filed 05/16/22 Page 1 of 6 Page ID #:47



   1 LAW OFFICE OF ERIC HONIG
     Eric Honig - CA Bar No. 140765
   2 P.O. Box 10327
     Marina del Rey, CA 90295
   3 erichonig@aol.com
     Telephone: (310) 699-8051
   4 Fax: (310) 943-2220
   5 DAVID B. SMITH
     dbs@davidbsmithpllc.com
   6 David B. Smith, PLLC
     108 North Alfred Street, 1st FL
   7 Alexandria, VA 22314
     703-548-8911
   8 Fax 703-548-8935
     Pro Hac Vice Application Pending
   9
     Attorneys for Claimant
  10 MITCHELL MAGEE
  11
  12                        UNITED STATES DISTRICT COURT
  13                      CENTRAL DISTRICT OF CALIFORNIA
  14                                WESTERN DIVISION
  15
       UNITED STATES OF AMERICA,        )         Case No. 2:22-CV-00015-RKG-MAR
  16                                    )
             Plaintiff,                 )
  17                                    )         CLAIMANT MITCHELL MAGEE’S
                    v.                  )         ANSWER TO COMPLAINT FOR
  18                                    )         FORFEITURE AND   :
       $217,285.00 IN U.S. CURRENCY,    )         AFFIRMATIVE DEFENSES
  19   ETC.                             )
                                        )
  20         Defendants.                )
       ________________________________ )         [JURY TRIAL DEMANDED]
  21                                    )
       MITCHELL MAGEE,                  )
  22                                    )
             Claimant.                  )
  23                                    )
  24         COMES NOW claimant Mitchell Magee, by and through counsel, and
  25 hereby files this response to the Complaint for Forfeiture (Doc. 1).
  26                                       ANSWER
  27                                 Jurisdiction and Venue
  28
Case 2:22-cv-00015-RGK-MAR Document 17 Filed 05/16/22 Page 2 of 6 Page ID #:48



   1         1.    No response is required.
   2         2.    No response is required.
   3         3.    No response is required.
   4
   5                                   Persons and Entities
   6         4.    Admitted.
   7         5.    Admitted.
   8         6.    Claimant has insufficient knowledge or information which would allow
   9 formation of a belief as to the truth of the allegations contained in this paragraph.
  10         7.    Admitted as to claimant.
  11
  12                                   Basis for Forfeiture
  13 Background Regarding U.S. Private Vaults
  14         8.    Admitted that U.S. Private Vaults (hereinafter “USPV”) was in the
  15 business of renting safe deposit boxes to customers. Claimant has insufficient
  16 knowledge or information which would allow formation of a belief as to the truth of
  17 the remaining allegations contained in this paragraph.
  18         9.    Admitted that USPV advertised privacy. Claimant has insufficient
  19 knowledge or information which would allow formation of a belief as to the truth of
  20 the remaining allegations contained in this paragraph.
  21         10.   Admitted that the quoted postings appeared on the USPV website.
  22 Claimant has insufficient knowledge or information which would allow formation of
  23 a belief as to the truth of the remaining allegations contained in this paragraph.
  24         11.   Admitted that the quoted postings appeared on the USPV website.
  25 Claimant has insufficient knowledge or information which would allow formation of
  26 a belief as to the truth of the remaining allegations contained in this paragraph.
  27         12.   Denied.
  28         13.   Claimant has insufficient knowledge or information which would allow

                                                 2
Case 2:22-cv-00015-RGK-MAR Document 17 Filed 05/16/22 Page 3 of 6 Page ID #:49



   1 formation of a belief as to the truth of the allegations contained in this paragraph.
   2         14.    Claimant has insufficient knowledge or information which would allow
   3 formation of a belief as to the truth of the allegations contained in this paragraph.
   4         15.    Claimant has insufficient knowledge or information which would allow
   5 formation of a belief as to the truth of the allegations contained in this paragraph.
   6         16.    Claimant has insufficient knowledge or information which would allow
   7 formation of a belief as to the truth of the allegations contained in this paragraph.
   8         17.    Claimant has insufficient knowledge or information which would allow
   9 formation of a belief as to the truth of the allegations contained in this paragraph.
  10         18.    Claimant has insufficient knowledge or information which would allow
  11 formation of a belief as to the truth of the allegations contained in this paragraph.
  12
  13 The Seizure of $600,980.00 in U.S. Currency From Mitchell Magee’s USPV Box and
     the Defendants from Mitchell Magee’s Residence and Rented Storage Unit
  14
            19. Admitted that $600,980.00 was found in claimant’s USPV in the
  15
     identified related case. The remaining allegations in this paragraph are denied.
  16
            20. Admitted that claimant has a criminal history.
  17
            21. Admitted that claimant owes $35,000 of his $56,000 in restitution, and
  18
     that his last payment was made in 2018. The remaining allegations in this paragraph
  19
     are denied.
  20
            22. Denied.
  21
            23. Denied.
  22
            24. Admitted that officers found $27,000 in cash and three watches at
  23
     claimant’s residence. The remaining allegations in this paragraph are denied.
  24
                                     First Claim for Relief
  25
            25. No response is required.
  26
            26. Denied.
  27
  28

                                                 3
Case 2:22-cv-00015-RGK-MAR Document 17 Filed 05/16/22 Page 4 of 6 Page ID #:50



   1                                Second Claim for Relief
   2         27.   No response is required.
   3         28.   Denied.
   4                                 Third Claim for Relief
   5         29.   No response is required.
   6         30.   Denied.
   7                                 Fourth Claim for Relief
   8         31.   No response is required.
   9         32.   Denied.
  10                                  Fifth Claim for Relief
  11         33.   No response is required.
  12         34.   Denied.
  13                             AFFIRMATIVE DEFENSES
  14         1.    Claimant Mitchell Magee is an innocent owner of the defendant property
  15 and, accordingly, claimant’s interest is exempt from forfeiture under 18 U.S.C. §
  16 983(d).
  17         2.    Forfeiture of claimant’s entire interest would be an “excessive fine” in
  18 violation of the Eighth Amendment’s Excessive Fines Clause and 18 U.S.C. § 983(g).
  19         3.    Claimant requests that this case be brought to trial or the summary
  20 judgment stage as speedily as possible and not stayed. Otherwise, he will argue that
  21 his due process right under United States v. $8,850, 461 U.S. 555 (1983), has been
  22 violated. See United States v. $12,248 in United States Currency, 957 F.2d 1513, 1518
  23 (9th Cir 1991).
  24         4.    Claimant will also file a motion to suppress all the government’s evidence
  25 ///
  26 ///
  27 ///
  28 ///

                                                4
Case 2:22-cv-00015-RGK-MAR Document 17 Filed 05/16/22 Page 5 of 6 Page ID #:51



   1 as the fruit of the illegal search of his safety deposit box at U.S. Private Vaults. See
   2 ¶19 of the Complaint.
   3
   4 Dated: May 16, 2022                      Respectfully submitted,
   5                                          DAVID B. SMITH
                                              (pro hac vice application pending)
   6
                                              LAW OFFICE OF ERIC HONIG
   7
   8                                          /s/ Eric Honig
                                              Eric Honig
   9                                          Attorneys for Claimant
                                              MITCHELL MAGEE
  10
  11
  12
  13
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28

                                                 5
Case 2:22-cv-00015-RGK-MAR Document 17 Filed 05/16/22 Page 6 of 6 Page ID #:52



   1                             DEMAND FOR JURY TRIAL
   2         Claimant hereby demands a trial by jury for all claims and causes of action
   3 for which he is entitled to a jury trial.
   4
   5 Dated: May 16, 2022                         Respectfully submitted,
   6                                             DAVID B. SMITH
                                                 (pro hac vice application pending)
   7
                                                 LAW OFFICE OF ERIC HONIG
   8
   9                                             /s/ Eric Honig
                                                 Eric Honig
  10                                             Attorneys for Claimant
                                                 MITCHELL MAGEE
  11
  12
  13
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28

                                                   6
